Case 2:05-CV-02222-SHI\/|-tmp Document 14 Filed 06/08/05 Page 1 of 9 Page|D 12

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IN THE UNITED sTATEs DISTRICT cOURT ~*“M~ ~*
FOR THE wEsTERN DIsTRIcT oF TENNESSEE ,

wEsTERN DIvIsJ:oN 05 JU»‘? ”3 AH H= 57

 

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CLERK»J;LS. met 011
DAISY McKINNEY, individually *MD-Gflw.m§nans
and as Next Friend of WILLIE
McKINNEY, an incapacitated

person,
Plaintiff,

v. No. 05-0222 Ma/P
KINDRED HEALTHCARE, INC.;
KINDRED HEALTHCARE OPERATING,
INC.; KINDRED NURSING CENTERS
LIMITED PARTNERSHIP d/b/a/
SPRING GATE REHABILITATION
AND HEALTHCARE CENTER; RENEE
B. TUTOR, in her capacity as
Administrator Of SPRING GATE
REHABILITATION AND HEALTHCARE
CENTER,

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De£endants.

 

ORDER GRANTING PLAINTIFF'S MOTION TO REM.AND

 

This case arises fron1 injuries Willie McKinney allegedly
suffered while a patient at Spring Gate Rehabilitation and
Healthcare Center (“Spring Gate”). Daisy McKinney (“McKinney”), as
the Next Friend of Willie McKinney, brings claims against the
defendants for negligence, gross negligence, medical malpractice,
violation of the Tennessee Adult Protection Act, T.C.A. §§ 71-6-
101, §§ §§g;, and breach of contract. McKinney originally filed

this action in the Circuit Court of Tennessee for the Thirtieth

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Case 2:05-CV-02222-SHI\/|-tmp Document 14 Filed 06/08/05 Page 2 of 9 Page|D 13

Judicial District at Memphis, Shelby County, on February 9, 2005.
The Defendants received notice of the suit on February 24, 2005. On
March 24, 2005, the Defendants removed the action to this court on
the basis of diversity of citizenship under 28 U.S.C. § 1441 et
seq4 Before the court is McKinney’s motion to remand the action to
state court, filed on April 25, 2005. The defendants, Kindred
Healthcare, Inc., Kindred Healthcare Operating, Inc., Kindred
Nursing Centers Limited Partnership d/b/a Spring Gate, and Renee B.
Tutor (“Tutor”) in her capacity as Administrator of Spring Gate
(collectively “the Defendants”) filed a response on May 9, 2005.

McKinney, in her motion to remand, contends that this court
does not have subject matter jurisdiction. Examination of
McKinney’s Complaint supports her contention. The Complaint makes
no claims under federal law and alleges that both McKinney and
Tutor are citizens of Tennessee. Thus, the court would not have
federal subject matter jurisdiction under 28 U.S.C. § 1331, or
diversity jurisdiction under 28 U.S.C. § 1332. The Defendants,
however, contend that no cause of action can be brought against
Tutor under Tennessee law. Therefore, the Defendants argue that
Tutor Was fraudulently joined and, therefore, that her presence in
this action cannot defeat diversity jurisdiction.
I. Applicable Law

“Removing defendants bear the burden of establishing federal

subject-matter jurisdiction.” Ahearn v. Charter Township of

CaSe 2:05-CV-02222-SHI\/|-tmp Document 14 Filed 06/08/05 Page 3 of 9 Page|D 14

Bloomfield, 100 F.3d 451, 453»54 (6th Cir. 1996). “Due regard for
state governments’ rightful independence requires federal courts
scrupulously to confine their own jurisdiction to precise statutory
limits.” ld* at 454. However, the federal courts should be equally
vigilant in protecting the right to proceed in federal court where
removal is proper and should not sanction devices meant to prevent
a proper removal. See Wecker v. Nat'l Enameling & Stamping Co., 204

U.S. 176, 186 (1907).
In a recent and analogous case, this court stated the law of
fraudulent joinder in the Sixth Circuit:

As the removing parties, the burden of establishing
fraudulent joinder and the presence of federal
jurisdiction, which is a heavy one, is upon the
defendants. gee Alexander v. Electronic Data Sys. Corp.,
13 F.3d 940, 948-49 (6th Cir. l994); Mills v. EleCtrOniC
Data Sys. COIQ., 986 F.Supp. 437, 439 (E.D. Mich. 1997).

In.Alexander, the Sixth Circuit held that a defendant can
establish fraudulent joinder by showing that there is no
“reasonable basis for predicting that the state law might
impose liability on the facts involved." 13 F.3d at 949
(quoting Bobbv Jones Garden Apts., Inc. v. Suleski, 391
F.2d 172, 176 (Bth Cir. 1968)); See also Winburn v.
Liberty Mut. InS. CO., 933 F. Supp. 664, 666 (E.D. Ky.
1996); Ludwig v. Learjet. Inc., 830 F. Supp. 995, 998

(E.D. Mich. 1993). “However, if there is a colorable
basis for predicting that a plaintiff may recover against
non-diverse defendants,” the case must be remanded to

state court. Coyne v. American Tobacco Co., 183 F.3d 488,
493 (6th Cir. 1999); Jerome~Duncan, Inc. v. Auto-BV-Tel

L.L.C., 176 F.3d 904, 907 (6th Cir. 1999). Any disputed
question of fact, or ambiguities in the controlling state
law, must be resolved in favor of the non-removing party.
Alexander, 13 F.3d at 949 (citing Carriere v. Sears
Roebuck & Co., 893 F.2d 98, 100 (5th Cir.), cert. denied,
498 U.S. 817 (1990)).

Nat Barkley v. Kindred Healthcarel Inc., No. 04-1344, at 2-3 (W.D.

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CaSe 2:05-CV-02222-SHI\/|-tmp Document 14 Filed 06/08/05 Page 4 of 9 Page|D 15

Tenn. April 18, 2005).
II. Analysis

McKinney, in her Complaint, brings a claim for negligence
against Tutor. McKinney states that Tutor, as administrator of
Spring Gate, “owed a duty to the residents of the facility,
including Willie McKinney, to provide services as [a] reasonable
administrator[] within accepted standards for nursing home
administrators.” (Compl. at j 54.) McKinney alleges that Tutor
“breached the duties owed to the residents of Spring Gate” because
she failed adequately to assess, evaluate, and supervise nursing
personnel, failed to hire and train adequate numbers of nursing
personnel, failed to hire appropriately qualified nursing personnel
to attend to the needs of the patients at Spring Gate, and failed
to assign nursing personnel responsibilities appropriate for their
education and experience. (Id. at j 55.) According to McKinney,
these alleged acts fell below the standard of care required of
nursing home administrators and were the actual and proximate cause
of a number of injuries suffered by Willie McKinney. (Id. at j 56,
57.) Thus, McKinney's Complaint, on its face, appears to state a
claim for negligence against Tutor under Tennessee law.l

The Defendants attempt to meet their burden of showing that

 

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“A negligence claim [under Tennessee law] requires proof of the following

familiar elements: (1) a duty of care owed by the defendant to the plaintiff; (2)
conduct by the defendant falling below the standard of care amounting to a breach
of that duty; (3) an injury or loss; (4) causation in fact; and (5) proximate or
legal cause.” Biscan v. Brown, 160 S.W.3d 462, 478 (Tenn. 2005).

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CaSe 2:05-CV-02222-SHI\/|-tmp Document 14 Filed 06/08/05 Page 5 of 9 Page|D 16

there is no “reasonable basis for predicting that the state law
might impose liability” on Tutor by arguing that McKinney's
Complaint does not “allege a specific act of negligence by [Tutor]
which resulted 511 harm to hhs McKinney.” (Def.'s Resp. at §3$
According to the Defendants, McKinney “seeks to impose vicarious
liability on [Tutor] based on the alleged derivative negligence of
the employees who provided Mr. McKinney with medical care.
However, Tennessee law consistently prohibits holding a manager or
administrator responsible for the acts of underservants.” (Id.)

In support of their argumentr the Defendants cite Parker v.
Vanderbilt Univ., 767 S.W.2d 412 (Tenn. Ct. App. 1988), which this
court described in Barkley as follows:

In Parker, the Tennessee Court of Appeals held that the

hospital’s Chief of Anesthesiology, Dr. Alcantara, could

not be held vicariously liable for the negligent acts of

a nurse anesthetist working under protocols that Dr.

Alcantara had developed. The complaint had alleged no

acts of negligence by Dr. Alcantara himself, he was not

present in the operating room during the operation in

question, and did not oversee or direct the nurse

anesthetist’s actions. Id. at 416-17. However, the Court

of Appeals recognized that a supervisor could be held

liable “if his personal negligence . . . was the

efficient cause or a coefficient cause of the injury.”

Id. at 418 (quoting Brown & Sons Lumber Co. v. Sessler,

163 S.W. 812, 813-14 (Tenn. 1914).
Barkley, No. 04*1344, at 4. The Defendants contend that there is
“no substantive difference” between the position of Dr. Alcantara
in Parker and defendant Tutor in this case. (Def.'s Resp. at 5.)

McKinney’s Complaint, however, contains allegations of negligent

acts committed by Tutor. McKinney alleges that Tutor failed

CaSe 2:05-CV-02222-SHI\/|-tmp Document 14 Filed 06/08/05 Page 6 of 9 Page|D 17

adequately to assess, evaluate, and supervise nursing personnel,
failed to hire and train adequate numbers of nursing personnel,
failed to hire appropriately' qualified. nursing personnel, and
failed to assign nursing personnel responsibilities appropriate for
their education and experience. (Compl. at j 55.)

In addition, although the Defendants do not make the argument
explicitly, they imply that under Tennessee law a nursing home
administrator does not owe a duty of care to the residents in her
nursing home. This court addressed this issue in Barkley:

The court has found no reported Tennessee cases, and the

parties have cited none, addressing the duty of care that

a nursing' home administrator owes to the facility's

residents. Nevertheless, the Court is unwilling to

conclude that there is no reasonable basis for the

Tennessee courts to hold that a nursing home

administrator owes a duty to the residents of that

facility to provide adequate care.
Barkley, No. 04-1344, at 5. Just as in Barkley, the parties have
not provided any Tennessee case law setting out the duty owed by a
nursing home administrator to residents in the nursing home. Under
Tennessee law, however, a nursing home administrator who wishes to
keep her license has a duty to act in a manner consistent “with the
health and safety of the patients in the home in which the licensee
is the administrator.” T.C.A. 63-16-108(a)(2). Further, Rule 1020-

l-.lB(l)(b) of the Tennessee State Board of Examiners for Nursing

Home Administrators, which has the force of law,2 defines a nursing

 

2See Roh v. Lakeshore Estates, Inc., 241 F.3d 491, 498 (Gth Cir. 2001).

6

CaSe 2:05-CV-02222-SHI\/|-tmp Document 14 Filed 06/08/05 Page 7 of 9 Page|D 18

home administrator as “unfit” or “incompetent” for the purposes of
“disciplinary action and licensure or licensure renewal denial” if
She:

“{i]ntentionally'or negligently allow[s] abuse or neglect

of a resident or plac[es] a resident in a situation where

abuse or neglect ... is occurring or is likely to occur.”

These rules and statutes demonstrate that under Tennessee law
a nursing home administrator who wishes to keep her license has a
duty to provide for the well-being of residents in her nursing
home. Consequently, the court cannot conclude that there is no
“reasonable basis” for predicting that, for the purposes of a
negligence action, a Tennessee court would find that a nursing home
administrator owes no duty of care to residents in her nursing
home. The court finds that there is a “colorable basis” for
predicting that McKinney could recover against Tutor and that Tutor
was not fraudulently joined.

The Defendants also argue that additional claims McKinney has
brought against Tutor under various Tennessee statutes and for
negligence per se are improper. Because the court has found that
there is a colorable basis for McKinney’s ordinary negligence claim
against Tutor, the remainder of the Defendants' arguments based on
Tennessee law are left to a Tennessee court.

III. Certification
The Defendants ask the court to certify the issue of whether

a resident of a nursing home may bring a claim for negligence

CaSe 2:05-CV-02222-SHI\/|-tmp Document 14 Filed 06/08/05 Page 8 of 9 Page|D 19

against the nursing home administrator to the Tennessee Supreme
Court. The Defendants argue that certification is appropriate
because the Supreme Court might conclude that “Tennessee law is
unclear on administrator liability.” The precise contours of
Tennessee law are not at issue. What is at issue is whether there
is a “reasonable basis” for concluding that Tennessee law would
recognize a claim for negligence by a nursing home resident against
the nursing home's administrator. The court has found that there
is. Whether the claim is ultimately recognized is a question for
the Tennessee courts to determine according to the procedures
Tennessee has established for adjudicating claims over which
Tennessee courts have original jurisdiction,.ACCOrdingly, the Court
declines to certify the issue to the Tennessee Supreme Court.
IV. Conclusion

For the foregoing reasons, Plaintiff’s motion to remand is
GRANTED and this case is hereby REMANDED to the Circuit Court of

Tennessee for the Thirtieth Judicial District.

So ORDERED this q*A day of June 2005.

y//wd,

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
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